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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

VICKI TIMPA, INDIVIDUALLY,                         §
AND AS REPRESENTATIVE OF                           §
THE ESTATE OF ANTHONY                              §
TIMPA, AND CHERYLL TIMPA                           §
INDIVIDUALLY AS NEXT FRIEND                        §
OF K. T., A MINOR CHILD                            §
       Plaintiffs,                                 §
                                                   §
V.                                                 §     CIVIL ACTION NO. 3:16-cv-03089-N
                                                   §
DUSTIN DILLARD,                                    §
DANNY VASQUEZ,                                     §
RAYMOND DOMINGUEZ, KEVIN                           §
MANSELL                                            §
                                                   §
         Defendants.                               §



                        ORDER REGARDING TRIAL PUBLICITY


        The Court finds that the above-referenced cause of action has received significant media

attention and is likely to continue to generate media attention due to the nature of the case, and

that unrestricted pretrial publicity could influence public opinion regarding the merits of the

case and interfere with a fair trial. The Court further finds that out-of-court statements relating

to the death of Tony Timpa pose a serious and imminent threat to Defendants’ constitutional

right to a fair trial, the ability of the Court to impanel and maintain a fair and impartial jury,

and to the fair administration of justice.

        The Court further finds that other, less restrictive means will not adequately protect the

parties’ rights to a fair trial and a fair and impartial jury. The Court also finds that in the course

of representing a client, a lawyer’s right to free speech is subordinate to the constitutional

requirements of a fair trial. Tex. R. Disc. Prof’l. Cond. 3.07 cmt. 1. It is therefore ordered as
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 follows:

       This Order applies to the following individuals (hereinafter collectively referred to as

“Participants”): Plaintiffs Vicki Timpa, Cheryll Timpa, and K.T.; Intervenor Joe Timpa;

Defendants Dustin Dillard, Kevin Mansell, Danny Vasquez and Raymond Dominguez; any

attorney participating in, or any attorney associated with, the trial of this cause, as well as their

office associates, assistants, staff members, investigators and employees under their supervision.

       The Participants shall not furnish any statement or information, or make or authorize the

making of an extra-judicial statement that a reasonable person would expect to be disseminated by

means of public communication, if the person making the statement knows or reasonably should

know that it will have a substantial likelihood of materially prejudicing the trial of this case, pose

a serious threat to the constitutional guarantees to a fair trial, or impair the Court’s ability to

impanel a fair and impartial jury. Such statements and information include, but are not limited to

the following:

         1. Statements concerning the expected testimony of any party or witness or the

             character, reputation or credibility of any party, any witness or any attorney

             involved in the case or members of their office;

         2. Statements concerning the existence or contents of any statement given by the

             parties herein;

         3. Statements concerning the nature of any evidence which may be presented, or

             the performance of any tests, the results thereof, or the refusal to perform or to

             allow to be performed any examination or test;

         4. The identity or nature of any physical evidence expected to be presented; or

         5. Any information the person knows or reasonably should know is likely to be


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              inadmissible as evidence at trial and would, if disclosed, create a substantial risk

              of prejudicing an impartial trial or the ability of the Court to maintain a fair and

              impartial jury.

        The attorneys involved in this case shall not make or authorize the making of any

 statements in violation of Rule 3.07 of the Texas Disciplinary Rules of Professional Conduct.

       Participants shall not suggest, request, induce or assist another person to provide

information or make statements that this Order prohibits Participants from providing or making

themselves.

        Members of the press shall not be prohibited from reporting news accounts concerning

 this case, or from writing about this case. This order does not restrict the publication or

 broadcasting by members of the press or the news media of any information not otherwise

 prohibited by law. Nor shall this order be construed to restrict the press or the public’s access

 to public documents.

        This order is effective immediately and shall remain in effect until the final disposition

 of said case or until further orders of this Court are issued.

        Signed this 7th day of August, 2023.




                                                              David C. Godbey
                                                       Chief United States District Judge




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